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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DERRELL FULTON                               )
                                             )
Plaintiff,                                   )       Case No. 17-cv-8696
                                             )
         v.                                  )       Judge Martha M. Pacold
                                             )
CITY OF CHICAGO, et al.                      )
                                             )
Defendants.                                  )

                    RESPONDENTS’ MOTION TO QUASH SUBPOENA
                      FOR THE DEPOSITION OF ERIC SUSSMAN

         Third Party Respondent Cook County State’s Attorney’s Office, by its attorney, Kimberly

M. Foxx, State’s Attorney of Cook County, through her assistant Jessica M. Scheller, and Third

Party Subpoena Respondent Eric Sussman, by his attorney, Kimberly M. Foxx, State’s Attorney

of Cook County, through her assistant Lyle K. Henretty, pursuant to Fed. R. Civ. P. 26 and Fed.

R. Civ. P. 45, bring this motion to quash the subpoenas for Eric Sussman’s deposition in the above-

referenced case. In support, the Respondents state as follows:

I.       Relevant Procedural History

         In May of 1997, Plaintiff Derrell Fulton (“Fulton”) was convicted of the 1994 aggravated

sexual assault and murder of Antwinica Bridgeman. See ECF No. 230. In 2016, the Conviction

Integrity Unit (“CIU”) of the Cook County State’s Attorney’s Office (“CCSAO”) initiated a re-

examination of Plaintiff’s conviction. Id. Pursuant to a motion by the CCSAO, Plaintiff’s

conviction and sentence were vacated on November 17, 2017. Id. In March 2018, the Circuit

Court of Cook County granted Fulton a Certificate of Innocence (“COI”). The CCSAO did not

object to the issuance of the COI.
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       Plaintiff has now filed an eleven-count Complaint against the City of Chicago, numerous

former Chicago Police Department (“CPD”) officers and their estates, and former CCSAO

Assistant State’s Attorney (“ASA”) Harold Garfinkel, alleging various state and federal claims

related to Plaintiff’s underlying criminal case. Id. Counsel for the CPD Defendants have issued,

and the CCSAO has accepted service of, subpoenas for the deposition of former First Assistant

State’s Attorney Eric Sussman. See Ex. A, subpoena.

       Based on conversations and e-mails between the undersigned and counsel for the CPD

Defendants, the CCSAO anticipates that the CPD Defendants intend to depose Mr. Sussman

regarding the following subject matters: 1) the factors taken into account, deliberations, and

reasoning behind the CCSAO’s decision to move to vacate the sentence and conviction of Plaintiff;

and 2) the factors taken into account, deliberations, and reasoning behind the CCSAO’s decision

to not contest Plaintiff’s petition for a COI. During these discussions, the CPD Defendants have

argued that there has been a waiver of any and all privileges related to these topics. The CPD

Defendants have declined to provide evidence to support this argument, other than generally

referring to the ruling in an unrelated case, Brown v. City of Chicago, et al., 18-cv-7063. However,

the CPD Defendants have declined to elaborate on how the ruling would affect this case, if at all.

Additionally, the CPD Defendants stated that there was an article in the Chicago Reader

newspaper, wherein former CCSAO employee Mark Rotert waived deliberative process vis-à-vis

Plaintiff. The undersigned requested more information on the article, but the CPD Defendants

provided no further information.

       II.     Argument

       The Respondents move to quash the subpoena because: 1) Sussman was a high-ranking

public official who will be unable to provide any relevant non-privileged evidence; 2) the



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communications sought are protected by the deliberative process privilege; and 3) any mental

impressions related to the privileged communications are likewise protected by the mental process

privilege and work-product doctrine.

                  1. Sussman cannot provide any Relevant Non-Privileged Testimony.

       High-ranking governmental officials should not be subject to giving depositions unless the

testimony sought will lead to admissible evidence relevant to the disposition of the case. See, e.g.,

Stagman v. Ryan, 176 F.3d 986, 994-95 (7th Cir. 1999), cert. denied, 528 U.S. 986 (1999) (holding

that plaintiff was not entitled to depose the Illinois Attorney General regarding his employment

discrimination claim.) Gauthier v. Union Pac. R.R. Co., 2008 U.S. Dist. LEXIS 47199, at *15

(E.D. Tex. June 18, 2008) (applying to both current and former high-level officials).

       Mr. Sussman was the First Assistant State’s Attorney, overseeing the seven bureaus of the

CCSAO at all times relevant hereto. Whatever non-privileged information Mr. Sussman could

provide is available from other sources, namely, the Assistant State’s Attorney assigned to the case

at the time, or a 30(b)(6) deposition. The CPD Defendants are well aware of this fact. In fact, an

identical attempt in a similar case by other CPD defendants and the City of Chicago to depose

Joseph Magats, the current First Assistant State’s Attorney, about similar subject matter has been

denied in the past. See, e.g., 10/17/19 Order, Gray v. City of Chicago, 18-cv-2624, N.D. Ill. Apr.

11, 2018, ECF No. 184 (quashing subpoena for Mr. Magats seeking his testimony regarding the

CCSAO’s decisions related to plaintiff’s post-conviction litigation).

       Further, to the extent the CPD Defendants intend to depose Mr. Sussman regarding his

personal opinions vis-à-vis the underlying facts, or use him to challenge the decisions made by the

CCSAO, this line of questioning would be wholly inappropriate and irrelevant to any claim or

defense in this case. Mr. Sussman is not an “expert witness,” and elicited opinions regarding the



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merits of the instant litigation, including whether or not the Plaintiff or Defendants engaged in

wrongdoing, would invade the province of the jury.

          In a good faith attempt to resolve this matter, CCSAO agreed to produce a Federal Rule of

Civil Procedure 30(b)(6) witness to testify regarding the CCSAO’s decision to move to vacate Mr.

Fulton’s conviction and sentence. Further, had the CPD Defendants agreed to these terms, the

CCSAO agreed not to assert its deliberative process privilege as to the decision to drop the charges,

or as to any statements made by the CCSAO or its employees to the press. The CCSAO would

maintain all other privileges, including the work product privilege and the deliberative process

privilege related to Plaintiff’s Certificate of Innocence. The CPD Defendants rejected this offer

and made no counterproposal.

          As such, Mr. Sussman has no recourse other than to move to quash the subpoena. As

discussed further below, because the majority of information Mr. Sussman could provide would

be the logic and reasoning behind the CCSAO’s decisions to move to vacate the conviction and/or

COI evaluation, there is no valid basis to depose Mr. Sussman at this time. As such, the subpoena

for his deposition should be quashed.

              2. The Information Sought is protected by the Deliberative Process Privilege.1

          "The deliberative process privilege protects communications that are part of the decision-

    making process of a governmental agency." U.S. v. Farley, 11 F.3d 1385, 1389 (7th Cir. 1993)

    (citing N.L.R.B. v. Sears, Roebuck & Co., 421 U.S. 132, 150-51 (1975)). The privilege "rests on

    the obvious realization that officials will not communicate candidly among themselves if each

    remark is a potential item of discovery and front page news, and its object is to enhance the quality


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  As noted above, the CPD Defendants have refused to provide deposition topics or engage in any discussion
regarding the specific information on which they intend to depose Mr. Sussman. As is also noted above, the
CCSAO remains willing to compromise on this issue, but cannot do so until the CPD Defendants provide more
detailed information.

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    of agency decisions by protecting open and frank discussion among those who make them within

    the Government." Department of Interior v. Klamath Water Users Protective Ass'n, 532 U.S. 1,

    8-9, 121 S. Ct. 1060, 149 L. Ed. 2d 87 (2001) (internal quotations omitted). To this end, the

    privilege shields "communications that are part of the decision-making process of a governmental

    agency." Farley, 11 F.3d at 1389. Privileged communications include not only conversations, but

    "documents reflecting advisory opinions, recommendations, and deliberations comprising part of

    the process by which governmental decisions and policies are formulated." Dep't of Interior v.

    Klamath Water Users Protective Assoc., 532 U.S. 1, 9 (2001) (citing Sears, Roebuck & Co., 421

    U.S. at 150). Although the deliberative process privilege does not justify the withholding of purely

    factual material, it does prohibit the disclosure of “factual matters inextricably intertwined with

    such discussions.” Enviro Tech Int'l, Inc. v. U.S. E.P.A., 371 F.3d 370, 374-75 (7th Cir. 2004).

          A two-step process exists for determining whether the deliberative process privilege

    applies. First, the government must show that the privilege applies to the information sought.

    Ferrell v. United States HUD, 177 F.R.D. 425, 428 (N.D. Ill. 1998). For the government to satisfy

    its prima facie threshold, three things must occur: 1) the department head with control over the

    matter at issue must, after personal consideration of the issue, make a formal claim of privilege;

    2) the designated official must articulate, typically by affidavit,2 their reasons for preserving the

    confidentiality of the information sought; and 3) the official must specifically identify and

    describe the documents or information sought. Id.; see also Evans v. City of Chicago, 231 F.R.D.



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  Although an affidavit is the “typical” manner by which the privilege is asserted, a formal affidavit is not always
required when the information sought and the reasons asserted for its privilege are readily apparent to the Court. See,
e.g., Tumas v. Bd. of Educ., 06 C 1943, 2007 U.S. Dist. LEXIS 56242 at * 8-9 (N.D. Ill. July 31, 2007) (excusing
affidavit requirement when it was apparent from pleadings what testimonial and documentary evidence was being
sought). Should the Court determine an affidavit is necessary, the CCSAO will provide the requisite affidavit as
failing to so in the first instance does not waive the privilege. See Guzman v. City of Chicago, 09 C 7570, 2011 U.S.
Dist. LEXIS 1730, at * 6 (N.D. Ill. Jan. 1, 2011) (holding that the government’s failure to timely provide an affidavit
is not fatal to the claim of privilege).

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302, 316 (N.D. Ill. 2005). If the government makes out a prima facie case that the privilege

applies, the burden then shifts to the party seeking disclosure to establish: 1) "a particularized

need" for the information sought; and 2) that the party's need for the document outweighs the

government's interest in confidentiality. Farley, 11 F.3d at 1389; Ferrell 177 F.R.D. at 428. In

undertaking such an analysis, a court must balance the requestor’s need for disclosure against the

government's need for secrecy, considering such factors as: 1) the relevance of the documents to

the litigation; 2) the availability of other evidence that would serve the same purpose as the

documents sought; 3) the government's role in the litigation; 4) the seriousness of the litigation

and the issues involved in it; and 5) the degree to which disclosure of the documents sought would

tend to chill future deliberations within government agencies, that it would hinder frank and

independent discussion about governmental policies and decisions. Ferrell, 177 F.R.D. at 429;

see also Saunders v. City of Chicago, 12 C 958, 2015 U.S. Dist. LEXIS 105571, at * 31-32 (N.D.

Ill. Aug. 12, 2015).

      The information sought from Mr. Sussman is unquestionably protected by the deliberative

process privilege and has been previously held so by Courts in the Northern District. For instance,

in Saunders, the plaintiff brought a motion to compel a high-ranking ASA to answer deposition

questions about the content of the CCSAO’s deliberations regarding the dismissals of charges and

its decisions regarding plaintiff’s petition for a COI. Saunders, U.S. Dist. LEXIS 105571, at * 58-

63. The plaintiff also sought to compel the ASA to answer questions regarding his personal beliefs

about the plaintiff’s guilt or innocence, the weight and significance of various evidence, and the

relevance of newly discovered evidence. Id. at 63-67. The court, in holding that the deliberative

process privilege was applicable to these inquiries, further held that, upon balancing the interests,

the plaintiff had not overcome his burden to establish a particularized need that outweighed the



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    government’s interests. Id. at 76. Although the court conducted a full analysis, of particular

    significance to the court’s holding was the policy underlying the privilege itself – the need to

    protect the quality of agency decisions by protecting open and frank discussions among its

    members. Id. at 76 (“Allowing Plaintiffs to have access to such evidence would set a precedent

    for others similarly situated to seek discovery of the [CCSAO's] confidential information and

    allow them to have full access to closed session discussions as fodder for potential [civil rights]

    claims. This, in turn, would have a negative impact on the quality of prosecutorial decisions made

    by the State's Attorney and his or her staff.”) (internal citations or quotation omitted). Ultimately

    upholding the CCSAO’s objections, the court denied the portion of the plaintiff’s motion seeking

    to compel the ASA to answer the questions posed. Id.

          As Saunders establishes, the CCSAO’s deliberations regarding its decisions to seek to

    vacate a conviction or to object to a Certificate of Innocence are privileged. See also Hill v. City

    of Chicago, 13 C 4847, 2015 U.S. Dist. LEXIS 190661, at * 10-11 (N. D. Ill. May 28, 2015)

    (holding that the deliberations underlying a decision to bring criminal charges are privileged).

    Yet, the CPD Defendants will be seeking the exact same information—despite analogous

    precedent forbidding such disclosures. Because the information sought is protected by the

    deliberative process privilege, and because the CPD Defendants will not be able to overcome their

    burden to establish a particularized need, this Court should quash the subpoenas directed to Mr.

    Sussman.3



           3. The Mental Impressions related to the Privileged Communications are Privileged.



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  Should the Defendant Officers articulate a reason for Sussman’s deposition that would not intrude upon a privilege,
the Respondents would respectfully request that this Court enter a protective order prohibiting inquiry into the
anticipated subject matters.

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       It is clear from the Saunders opinion that, not only are the actual communications

privileged, but so too are the internal thoughts and mental processes attendant to the deliberations.

As the Saunders court noted, inquiries into personal beliefs cannot be separated from the actual

deliberations, as the beliefs and opinions formed are necessarily shaped by the protected

deliberations. Saunders, U.S. Dist. LEXIS 105571, at * 63-67 (“This Court finds that the privilege

was properly invoked by Valentini in response to these irregular deposition questions. It is likely

that during the SAO's deliberations about the prosecutorial decisions, they discussed the weight of

the evidence and whether it was sufficient for a jury to convict, as well as the other questions posed

to Valentini. Since Valentini was present for the deliberations, it is understandable that providing

answers to the questions would reveal analysis, arguments, and discussion from the

deliberations.”). While the Saunders court did not invoke the actual term, the mental process and

internal deliberation are likewise protected by the “mental processes privilege.” See Carl Zeiss

Stiftung v. V. E. B. Carl Zeiss, Jena, 40 F.R.D. 318, 326-26 (D.D.C. 1996) (holding that the mental

processes privilege is “inextricably intertwined” with the deliberative process privilege and

precludes “prob[ing] the mental process” of government officials); see also Mendez v. City of

Chicago, 18 CV 5560, 2020 U.S. Dist. LEXIS 47530, at * 4 (N.D. Ill. Mar. 19, 2020) (quashing

subpoena pursuant to the mental processes privilege seeking deposition of sitting judge regarding

the reasoning for his decision). Because the mental processes privilege analysis is the same as the

deliberative process privilege, see United States v. Lake Cty. Bd. of Comm'rs, 233 F.R.D. 523, 527

(N.D. Ind. 2005), the CPD Defendants are likewise prohibited from inquiring into the mental

impressions of Mr. Sussman.

       While the mental processes privilege is confined to pre-decisional deliberation, the

common law work-product doctrine, a more expansive doctrine than the mental processes



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privilege, likewise prohibits inquiries into the Deponents’ mental processes. As the Supreme Court

has long held, the mental impressions and “intangible” work product of attorneys are “inviolate.”

Hickman v. Taylor, 329 U.S. 495, 511 (1947). As such, the intangible work product that Mr.

Sussman developed during his deliberations regarding Brown’s post-conviction litigation is

privileged and protected.

III.   Conclusion

       For the reasons set forth herein, and in the underlying brief, the Motion to Quash should

be granted.

       Date: October 9, 2020                        Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I hereby certify that on October 9, 2020, I electronically filed the foregoing document
with the Clerk of the Court for Northern District of Illinois, using the electronic case filing
system of the Court. The electronic case filing system sent a “Notice of E-Filing” to the attorneys
of record in this case.

                                                                               /s/ Lyle K. Henretty




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